                             UNITED STATES DISTRICT COURT

                             EASTERN DISTRICT OF LOUISIANA

BORDELON MARINE, INC.                           *
                                                *   CIVIL ACTION NO.: 15-0815
VERSUS                                          *
                                                *   JUDGE MARY ANN VIAL LEMMON
ENERGY XXI GOM, LLC                             *   SECTION “S”
                                                *
                                                *   MAGISTRATE JUDGE
                                                *   JANIS VAN MEERVELD
                                                *   DIVISION (1)
* * * * * * * * * * * * * * * * * * * * * * * **

              ORDER ON MOTION IN LIMINE TO EXCLUDE
  HEARSAY WITNESS INTERVIEWS BY NATIONAL TRANSPORTATION SAFETY
                        BOARD [REC. 142-17]


       Pending before the Court is Bordelon Marine, Inc.’s Motion in Limine (the “Motion”) to

exclude the National Transportation Safety Board’s Witness Interview of Greg Mott, and any

other non-party witness interview of any witness not appearing at trial. Having considered the

briefing, argument of counsel, and the applicable law, the Court finds that the Motion should be

GRANTED.

       IT IS HEREBY ORDERED that Bordelon Marine Inc.’s Motion is GRANTED, and the

National Transportation Safety Board’s Witness Interview of Greg Mott is excluded from

evidence in evidence. Also excluded from evidence in this matter is any witness interview of any

other non-party witness not appearing at trial.

       New Orleans, Louisiana this _____ day of ___________, 2018.


                               _______________________________________
                               HONORABLE MARY ANN VIAL LEMMON
                               UNITED STATES DISTRICT COURT JUDGE
